590 F.2d 408
    Joseph Allen WILSON, Petitioner-Appellant,v.Robert J. HENDERSON, Superintendent, Auburn CorrectionalFacility, Respondent-Appellee.
    No. 832, Docket 78-2015.
    United States Court of Appeals,Second Circuit.
    Argued May 23, 1978.Decided Sept. 20, 1978.On Rehearing En Banc Decided Jan. 23, 1979.
    
      1
      Circuit Judges FEINBERG, MANSFIELD, OAKES, and GURFEIN vote to reconsider whether Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966), requires reversal of the judgment of the District Court.
    
    
      2
      Circuit Judges MANSFIELD, OAKES, and GURFEIN also vote to reconsider whether reversal is required by Massiah v. United States, 377 U.S. 201, 84 S.Ct. 1199, 12 L.Ed.2d 246 (1964).
    
    
      3
      Circuit Judge OAKES has filed a dissenting opinion.
    
    OAKES, Circuit Judge (dissenting):
    
      4
      I wish to have my dissent to the denial of the petition for rehearing en banc noted not to add anything to the substance of what was said in my original dissenting panel opinion but to underscore the importance of the Miranda and Massiah issues involved, an importance that is emphasized by Professor Yale Kamisar's forthcoming article, Brewer v. Williams, Massiah and Miranda: What Is "Interrogation"?  When Does It Matter?, 67 Geo.L.J. 1 (1978), to be published shortly.  I note also that a panel majority of the Fourth Circuit has recently held on the Massiah point directly contrary to the panel majority in this case.  Henry v. United States, 590 F.2d 544 (4th Cir. 1978).
    
    